AO 91 (Rev. 11111) Criminal Complaint



                                        UNITED STATES DISTRICT COURT                                          FILED
                                                             for the                                    October 01, 2021
                                                Western District of Texas                            CLERK, U.S. DISTRICT COURT
                                                                                                     WESTERN DISTRICT OF TEXAS

                  United States of America                       )                                                  kkc
                                                                                                 BY: ________________________________
                              v.                                 )                                                       DEPUTY
                                                                 )       Case No.    1:21-mj-827-SH
                                                                 )
                                                                 )
                                                                 )
           RYAN TAYLOR FAIRCLOTH                                 )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of       September 29, 2021                    in the county of   Travis                          in the
Western                District of Texas                    ,the defendant(s) violated:

            Code Section                                                   Offense Description
18 USC 844(i)                              Arson and Attempted Arson




         This criminal complaint is based on these facts:

See Attached Affidavit




         !j] Continued on the attached sheet.




                                                                                           Printed name and title
o Sworn to before me and signed in my presence.
[j] Sworn to telephonically and signed electronically.


Date:    October 1, 2021
                                                                                             Judge's signature

City and state:      Austin, Texas                                      Susan Hightower, U.S. Magistrate Judge
                                                                                           Printed name and title
                        IN THE UNITED STATES DISTRICT COURT
                           FOR WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
                                                                                 1:21-mj-827-SH
                             AFFIDAVIT IN SUPPORT OF AN
                            APPLICATION FOR A COMPLAINT


       I, Ryan Metcalf being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Detective with the Austin Police Department and am currently assigned to

the FBI Central Texas Joint Terrorism Task Force in Austin, Texas as a Task Force Officer. I

have been a law enforcement officer for approximately 20 years. In that time, I have gained

experience with various criminal investigations, including organized crime, narcotics

investigations, and violent crimes. Based on my training and experience, I am familiar with

investigative techniques, including subject interviews, the execution of search warrants, and the

review of electronic or digital evidence. I have also discussed this investigation with other law

enforcement personnel with specialized experience in arson as well as Austin Fire Department

Arson Unit investigators.


       2.      This affidavit is intended to show only that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter. I am

relying on my observations of the scenes as well as the facts and information gathered from other

law enforcement described below. All facts are relayed in sum and substance.


       3.      Based on the facts set forth below, there is probable cause to believe that on

September 29, 2021, within the Western District of Texas, RYAN TAYLOR FAIRCLOTH

committed a violation of Title 18, United States Code, Section 844(i), which provides in relevant
part: "Whoever maliciously damages or destroys, or attempts to damage or destroy, by means of

fire or an explosive, any building, vehicle, or other real or personal property used in interstate or

foreign commerce or in any activity affecting interstate or foreign commerce shall be imprisoned

for not less than 5 years and not more than 20 years, fined under this title, or both[.]"

                                           PROBABLE CAUSE


        4.      On Wednesday, September 29, 2021, Austin 911 received a call for service to

1311 E. 6th Street Suite B in Austin, Travis County, Texas.        1311 E. 6th Street Suite B is the

headquarters office of the Travis County Democratic Party. The 911 caller reported damage to

the door of the Democratic Party headquarters and fire inside. Members of the AFD and the

Austin Police Department (APD) were dispatched to the scene; however, upon arrival the fire

had been extinguished by the 911 caller with a fire extinguisher.        No subject was located or

identified on scene and AFD Arson Investigators were requested to the scene to conduct the

initial investigation.


        5.      Arson investigators found, among other things, a note left at the scene.        The

following is a photograph of the note:
                         ~'v.~l t~         C1J        SWt.
                         ~   ~nMCi~\ C~     Aell ~,t~
                                                   ..
                         -& mao                   (j~.MJo ..·           -
                         eLft\   -l::k ~         ~J      c-4 ~    ...
                         ~       Qt.   Jw., -t~ [..•1{       ~J



                         ~ -tJ, (,\•.~ (~)               O;~-.




        6.     AFD Arson Unit conducted a media release containing subject photos and the

Travis Democratic Party Office released surveillance video of the incident. The clothing worn

by the subject as well as the subject's body build and gait could all be seen in the video released

publicly. Significantly, the individual was wearing an American flag face mask/neck gaiter on

his face.
       7.       In response to the public media release of subject photos and the resulting media

attention, investigators received information from three witnesses familiar with FAIRCLOTH

who identified him as the likely perpetrator. In addition, an Arson Investigator reviewed public

social media accounts for FAIRCLOTH and observed photographs where FAIRCLOTH is

wearing an American flag face mask/neck gaiter consistent with the mask worn by the subject in

the media press release.


       8.       I have reviewed surveillance footage from 1311 E. 6th Street taken on September

29, 2021. Among other things, the video showed the following and all timestamps are early in

the morning (a.m.):


            •   At video timestamp 09-29-2021 Wed 02:01 :05, a dark red or maroon colored

                truck, consistent with the features and body style of a Ford F-150, can be

                observed turning from northbound Navasota St to westbound East 6th Street.

                This direction of travel goes directly past the front door of the Travis County

                Democratic party office. The maroon truck was not operating its headlights after

                dark as required by Texas Traffic Code and stood out in contrast to other vehicles

                observed traveling on East 6th in the video during a night of thunderstorms in the

                early hours of September 29th.     I have visually compared the maroon truck

                observed in the Democratic Party Headquarters surveillance video to a maroon

                Ford F-150 registered to FAIRCLOTH and I believe they are the same vehicle.

                An agent was able to locate and photograph the Ford F-150 currently registered

                to FAIRCLOTH bearing Texas License Plate NYB-3528. FAIRCLOTH's F-150

                was observed by an agent parked in the parking garage at FAIRCLOTH's

                residence on September 30, 2021.
•   At video timestamp 09-29-2021 Wed 02:06:16, the subject is observed entering

    the video frame approaching the front door of the building. The subject wore an

    American flag style bandana/gaiter face covering over the top of his head and

    another red and white (possibly American flag) bandana/gaiter covering the

    lower part of his face. The subject wore a long-sleeved tight fitting white or gray

    (light colored) t-shirt, blue or black (dark colored) cargo style shorts, tennis shoes

    with white on top and black around the bottom with black shoe laces. Based on

    visible skin on his hands and legs below his shorts the subject had a light skin

    tone. The subject was observed throwing an object in the direction of the front

    door at video timestamp 09-29-2021 Wed 02:06:36. The subject then exited the

    camera frame.


•   At video timestamp 09-29-2021 Wed 02: 11 :05 the previously described male

    subject re-entered the surveillance camera view from Navasota Street turning

    west onto E 6th Street and then exited the camera view.            The subject was

    observed covering his hands with his shirt sleeves and a large bottle with what

    investigators believe to be a wick was visible in the subject's            left hand.

    Approximately two minutes later, he returned into camera view.             Additional

    surveillance video showed the subject reach into the premises and drop a lit

    object and then drop the bottle. Based on investigators' review of the footage, it

    appears that the lit object did not ignite the bottle fully at the time. At video

    timestamp 09-29-2021 Wed 02:18:34, an object on fire was thrown in the vicinity

    of the bottle, causing the contents of the bottle to ignite. At approximately the

    same time, the subject is seen running away from the front door of the Travis
                County Democratic Office east on E 6th street then turning south on Navasota

                Street. As the subject ran away flashes of light can be seen in the windows of the

                Travis County Democratic Office with a flame visible.


          9.    On October     1, 2021, investigators     executed federal search warrants        for

FAIRCLOTH's residence, vehicle, and person, and he was arrested on a state arrest warrant.

FAIRCLOTH was provided with Miranda warnings, indicated he understood them, and agreed

to answer the investigators' questions.    In sum and substance, FAIRCLOTH admitted that he

had assembled the incendiary device and dropped it into the headquarters of the Travis County

Democratic Party.    He described using a wine bottle, gasoline, and a sock to construct the

device. He admitted knowing that gasoline is flammable. He further confirmed his participation

in the events described above from the surveillance video.        FAIRCLOTH also described his

motive.


          10.   During the execution of the search warrants, investigators found, among other

things, clothes consistent with the clothes FAIRCLOTH wore while committing the offense on

September 29, 2021, including the American flag bandana/gaiter, shoes, and shirt. During his

interview, FAIRCLOTH admitted to wearing these clothes during the offense and pointed

investigators to their location. Agents also recovered writing materials, including a notepad with

paper similar to that used for the note and written material with similar verbiage to the one left at

the scene, lighters, fireworks, and tape consistent with the tape used on the note left at the scene.


          11.   Agents have spoken with a representative of the Travis County Democratic party,

who confirmed the Travis County Democratic Party receives many out of state donations and

solicitations totaling approximately $50,000 annually. Based on records from the Texas Ethics
Commission, agents have confirmed that the Travis County Democratic Party received

donations from individuals out of state.


        12.      Based on my training and experience and discussions with other law enforcement

officers, the device used by FAIRCLOTH was capable of damaging or destroying a building by

means of fire.


        13.      Based on the above, I respectfully submit that there is probable cause to believe

that FAIRCLOTH violated Title 18, United States Code, Section 844(i) and request the issuance

of a warrant for his arrest.




                                                    Federal Bureau ofInvestigation
        Subscribed and sworn to before me
        on October 1, 2021:


        SUSAN HIGHTOWER
        UNITED STATES MAGISTRATE JUDGE
